                         Case 8:11-ap-00361-KRM                  Doc 43        Filed 12/13/12          Page 1 of 6
                                                United States Bankruptcy Court
                                                 Middle District of Florida
 Jansen,
               Plaintiff                                                                           Adv. Proc. No. 11-00361-KRM
 Saxo Bank Group d/b/a Saxo Bank A/S,
          Defendant
                                                  CERTIFICATE OF NOTICE
 District/off: 113A-8                  User: esharon                      Page 1 of 2                          Date Rcvd: Dec 11, 2012
                                       Form ID: pdfdoc                    Total Noticed: 2


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Dec 13, 2012.
 aty           +Forizs & Dogali, P.A.,   c/o Robert Wahl, Esq.,   4301 Anchor Plaza Parkway,   Suite 300,
                 Tampa, FL 33634-7521
 pla           +Shari Streit Jansen,   Chapter 7 Trustee,   P. O. Box 50667,   Sarasota, FL 34232-0305

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 pla          +E-mail/Text: sharijansen@comcast.net Dec 12 2012 05:58:45     Shari Streit Jansen,
                Chapter 7 Trustee,   P. O. Box 50667,   Sarasota, FL 34232-0305
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 dft              Saxo Bank Group d/b/a Saxo Bank A/S,    Saxo Bank A/S Headquarters,                     Philip Heymans Alle 15,
                   DK - 2900 Hellerup,   Hellerup,   2900
                                                                                                                     TOTALS: 1, * 0, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 13, 2012                                       Signature:
                   Case 8:11-ap-00361-KRM          Doc 43    Filed 12/13/12     Page 2 of 6



District/off: 113A-8         User: esharon               Page 2 of 2                   Date Rcvd: Dec 11, 2012
                             Form ID: pdfdoc             Total Noticed: 2


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 11, 2012 at the address(es) listed below:
              Suzy Tate     on behalf of Plaintiff Shari Jansen ecf@jennisbowen.com,
               state@jennisbowen.com;kkearney@jennisbowen.com;jandb.ecf@gmail.com
              Zala L Forizs    on behalf of Attorney Forizs & Dogali, P.A. zforizs@forizs-dogali.com,
               ksutton@forizs-dogali.com
                                                                                            TOTAL: 2
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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
In re:
                                                  Case No.: 8:09-bk-6199-KRM
BEAU DIAMOND,
                                                  Chapter 7
  Debtor.
_________________________________/
SHARI STREIT JANSEN,
                                                  ALL ADVERSARY PROCEEDINGS
         Plaintiff,                               LISTED BELOW

vs.
      Defendants.
__________________________________/

                         ORDER SCHEDULING CONTINUED
               PRE-TRIAL CONFERENCE OF ADVERSARY PROCEEDINGS

         THE          FOLLOWING   ADVERSARY          PROCEEDINGS         (the   “Adversary

Proceedings”) came before the Court for consideration:

              Ad. Proc. No.                              Defendant
           8:10-ap-00157-KRM      Stephens, Barbara
           8:10-ap-00653-KRM      Siegel, Craig
           8:10-ap-00706-KRM      DeSylvestor, John
           8:10-ap-00751-KRM      Kellum, Daniel
           8:10-ap-00786-KRM      Adalaida L. Kuty Family Trust
           8:10-ap-00789-KRM      Kuty, Dennis
           8:10-ap-01011-KRM      Diamond, Harvey
           8:10-ap-01012-KRM      McCarty, Shawn
           8:10-ap-01033-KRM      Ellis, Steve
           8:10-ap-01089-KRM      Campbell, Thomas
           8:10-ap-01154-KRM      Solorzano, Philip
           8:10-ap-01284-KRM      Arellano, Sergio
           8:10-ap-01522-KRM      McCarty, Drew
           8:10-ap-01523-KRM      Lenahan, Caryl
           8:10-ap-01524-KRM      Corella, Bill
           8:10-ap-01526-KRM      Scent Jewels Inc./Mikel Jaims
           8:10-ap-01531-KRM      Vedeler, Christopher
           8:10-ap-01550-KRM      Folit, Ruth
           8:10-ap-01557-KRM      Gallegos, Gustavo
           8:10-ap-01566-KRM      Winaccount Corp/Jonathan Carr
           8:10-ap-01577-KRM      Cubitt, Zachary
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              8:10-ap-01579-KRM         Stephens, Clark
              8:10-ap-01588-KRM         Fit for Life, LLC
              8:11-ap-00062-KRM         Bamlett, Douglas
              8:11-ap-00346-KRM         Collins, Eric
              8:11-ap-00347-KRM         Hanna, Jeffrey
                                        Frank, Bruce and Angel Annie Humanitarian, LLC
              8:11-ap-00355-KRM         a/k/a Angel Annie Humanitarian Trust, LLC, et al.
              8:11-ap-00361-KRM         Saxo Bank Group d/b/a Saxo Bank A/S

whereupon the Court determined it appropriate to schedule a continued pre-trial conference.

Accordingly, it is

         ORDERED and ADJUDGED that:

         1.         Pre-Trial Conferences for all of the above Adversary Proceedings shall be held on

January 22, 2013 at 11:30 a.m. before the Honorable K. Rodney May, Courtroom 9B, Sam M.

Gibbons United States Courthouse, 801 North Florida Avenue, Tampa, Florida 33602.

                                               December 11
         DONE and ORDERED at Tampa, Florida on ____________________, 2012.




                                                        Honorable K. Rodney May
                                                        United States Bankruptcy Judge


Conformed copies to:
Parties on attached service list




{00198483.DOCX;1}                                 2
          Case 8:11-ap-00361-KRM       Doc 43    Filed 12/13/12       Page 5 of 6



                                        SERVICE LIST

Edward C. Royer, Esquire                       Joel S. Treuhalft, Esquire
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3907 Henderson Blvd. Ste. 200                  Palm Harbor Law Group, PA
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Attorney for: Thomas Campbell, Frank           Palm Harbor, FL 34683
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Folit, Blanda Glisson, Daniel Kellum, Steven   McCarty, Shawn McCarty
Sanchez, Joseph Stephens, Chris Vedeler
Sergio Arellano                                Blue Ash, Inc.
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                                               Tampa, FL 3360
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Sarasota, FL 34239
Jeffrery Hanna
                                               Sergio Gallegos
2301 N. Tamiami Trail
                                               10516 Telfair Avenue
Unit A
                                               Pacoima, CA 91331
Nokomis, FL 34275
Scent Jewels, Inc.                             Mikel Jaims
c/o Mikel Jaims                                3006 S. Salida Del Sol
3006 S. Salinda Del Sol                        Mesa, AZ 85202
Mesa, AZ 85202
Adalaida L. Kuty Family Trust                  Dennis Kuty
c/o Clifford Geismar, Esq.                     c/o Clifford Geismar, Esq.
Crealde Executive Center                       Crealde Executive Center
2431 Aloma Avenue, Ste. 153                    2431 Aloma Avenue, Ste. 153
Winter Park, FL 32792                          Winter Park, FL 32792
Caryl Lenahan                                  Saxo Bank Group d/b/a Saxo Bank A/S
4709 Maid Marian Lane                          Saxo Bank A/S Headquarters
Sarasota, FL 34232                             Philip Heymans Alle 15
                                               DK - 2900 Hellerup
                                               Hellerup 2900
Clark Stevens                                  Barbara Stephens
601 Eighth Street                              11306 Blue Sage Place
Magdelena, NM 87825                            Lakewood Ranch, FL 34202
Philip Solorzano                               Team Partners, LLC
c/o Tonya Willis Pitts, Esq.                   Team Realtors
1819 Main Street, Ste. 207                     TM Construction of Sarasota, Inc.


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Sarasota, FL 34236                      c/o Joseph Stephens
                                        11306 Blue Sage Place
                                        Lakewood Ranch, FL 34202
Joseph Stephens                         Craig Siegel
11306 Blue Sage Place                   Steven R. Wirth, Esq.
Lakewood Ranch, FL 34202                Akerman Senterfitt
                                        401 E. Jackson Street, Ste. 1700
                                        Tampa, FL 33602
Winaccount Corp                         Eric Collins
Jonathan Carr                           220 Newport Center Drive
64 Berkeley                             Suite 11-246
Irving, CA 92612                        Newport Beach, CA 92660
Bruce Frank                             Linda S. Deavers
495 High Street                         7969 Englewood Road
Monroe, NY 10950                        Indianapolis, IN 46240
Fit For Life, Inc.
c/o Donald Schnell
5795 S. Sandhill Road, Suite F
Las Vegas, NV 89120




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